       Case 15-15100                Doc 55         Filed 07/20/18 Entered 07/20/18 23:25:24                           Desc Imaged
                                                  Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Ankurkumar J Chaudhari                                         Social Security number or ITIN   xxx−xx−4247

                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

Debtor 2                                                                             Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                     EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Northern District of Illinois

Case number: 15−15100




Order of Discharge                                                                                                                  12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Ankurkumar J Chaudhari
               aka Ankur J Chaudhari

               If the trustee has filed and served a notice pursuant to Bankruptcy Rule 3002.1(f), and no statement is timely filed by
               the mortgagee in response, the mortgage addressed by the notice is deemed to be fully current as of the date of the
               notice.


               July 18, 2018                                                For the court:          Jeffrey P. Allsteadt, Clerk
                                                                                                    United States Bankruptcy Court



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                    liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                    In a case involving community property: Special rules
attempt to collect a discharged debt from the                                protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                            spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                  case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                            Some debts are not discharged
debtors by mail, phone, or otherwise in any                                  Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                       ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                       ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                 ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                           U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                      523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                       the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                           For more information, see page 2




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    ♦ debts that the bankruptcy court has                         ♦ debts for restitution, or damages,
      decided or will decide are not discharged                     awarded in a civil action against the
      in this bankruptcy case;                                      debtor as a result of malicious or willful
                                                                    injury by the debtor that caused
                                                                    personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,                 death of an individual; and
      or criminal restitution obligations;

                                                                  ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                          caused by operating a vehicle while
      properly list;                                                intoxicated.

    ♦ debts provided for under 11 U.S.C. §                 In addition, this discharge does not stop
      1322(b)(5) and on which the last payment             creditors from collecting from anyone else who
      or other transfer is due after the date on           is also liable on the debt, such as an insurance
      which the final payment under the plan               company or a person who cosigned or
      was due;                                             guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if           This information is only a general
      obtaining the trustee's prior approval of             summary of a chapter 13 discharge; some
      incurring the debt was practicable but was            exceptions exist. Because the law is
      not obtained;                                         complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.




Form 3180W                                 Chapter 13 Discharge                              page 2
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                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                  Case No. 15-15100-DRC
Ankurkumar J Chaudhari                                                                  Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0752-1           User: abowles                Page 1 of 3                   Date Rcvd: Jul 18, 2018
                               Form ID: 3180W               Total Noticed: 56


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 20, 2018.
db             +Ankurkumar J Chaudhari,    5912 Pine Hollow Rd,    Carpenterville, IL 60110-3364
23228193        AT&T,   Bill Payment Center,    Chicago, IL 60605
23228194       +ATG Credit,   1700 W Cortland Street Suite 2,     Chicago, IL 60622-1131
23228185       +Alexian Brothers Medical Center,    800 Biesterfield Road,     Elk Grove Village, IL 60007-3396
23228190       +Ars /Account Resolution Services,    1801 Nw 66th Ave,    Fort Lauderdal, FL 33313-4571
23228192       +Aspire,   Pob 105555,    Atlanta, GA 30348-5555
23228205      ++CHOICE RECOVERY INC,    1550 OLD HENDERSON ROAD,    STE 100,    COLUMBUS OH 43220-3662
               (address filed with court: Choice Recovery,      1550 Old Henderson Rd St,    Columbus, OH 43220)
23228196       +Caf/Carmax Auto Finance,    Attn : Bk,   PO BOX 440609,    Kennesaw, GA 30160-9511
23228200       +Cda/pontiac,   Attn:Bankruptcy,    Po Box 213,    Streator, IL 61364-0213
23228202       +Chang and Carlin,    1305 Remington Rd,   Schaumburg, IL 60173-4820
23228206       +Commonwealth Financial,    245 Main Street,    Scranton, PA 18519-1641
23615613       +MIDWEST EMERGENCY ASSOCIATES,LLC,    6681 Country Club Drive,     Golden Valley, MN 55427-4601
23228220       +Metabnk/fhut,   600 Main Ave,    P.O. Box 98,    Brookings, SD 57006-0098
23228224       +Pilu D Patel,   c/o Burke & Potenza,    600 Parsippany Road, Suite 106,
                 Parsippany, NJ 07054-3715
23228227       +State Collection Service,    2509 S Stoughton RD,    Madison, WI 53716-3314
23228229       +Suburban Medical Center,    800 E Woodfield Rd, Ste 102,     Schaumburg, IL 60173-4780
23228230       +Sunrise credit Services,    234 Airport Plaza Blvd S,    PO Box 9100,
                 Farmingdale, NY 11735-9100

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
23228188        EDI: HNDA.COM Jul 19 2018 04:08:00       American Honda Finance,     Po Box 168088,
                 Irving, TX 75016
23228186       +EDI: RMSC.COM Jul 19 2018 04:08:00       American Eagle GECRB,
                 Ge Capital Retail Bank/Attention: Bankru,     Po Box 103104,     Roswell, GA 30076-9104
23228187       +EDI: BECKLEE.COM Jul 19 2018 04:08:00       American Express,     Po Box 3001,
                 16 General Warren Blvd,    Malvern, PA 19355-1245
23264417        EDI: AIS.COM Jul 19 2018 04:08:00      American InfoSource LP as agent for,
                 T Mobile/T-Mobile USA Inc,    PO Box 248848,    Oklahoma City, OK 73124-8848
23228195        EDI: BANKAMER.COM Jul 19 2018 04:08:00       Bk Of Amer,    4060 Ogletown/Stanton Rd,
                 Newark, DE 19713
23228199        EDI: CAPITALONE.COM Jul 19 2018 04:08:00       Capital One,     P.O. Box 85015,
                 Richmond, VA 23285
23228205        E-mail/Text: bankrupt@choicerecovery.com Jul 19 2018 00:28:22         Choice Recovery,
                 1550 Old Henderson Rd St,    Columbus, OH 43220
23228197       +EDI: CAPITALONE.COM Jul 19 2018 04:08:00       Capital One,     Po Box 30253,
                 Salt Lake City, UT 84130-0253
23228198       +EDI: CAPITALONE.COM Jul 19 2018 04:08:00       Capital One,     Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
23228203       +EDI: CHASE.COM Jul 19 2018 04:08:00       Chase Bp Prvt Lbl,     Po Box 15298,
                 Wilmington, DE 19850-5298
23228204       +EDI: CHASE.COM Jul 19 2018 04:08:00       Chase Card,    Po Box 15298,    Wilmington, DE 19850-5298
23228207       +EDI: CREDPROT.COM Jul 19 2018 04:08:00       Crd Prt Asso,    Attn: Bankruptcy,     Po Box 802068,
                 Dallas, TX 75380-2068
23228208       +EDI: RCSFNBMARIN.COM Jul 19 2018 04:08:00       Credit One Bank,     Po Box 98873,
                 Las Vegas, NV 89193-8873
23228209       +EDI: DISCOVER.COM Jul 19 2018 04:08:00       Discover Fin Svcs Llc,     Po Box 15316,
                 Wilmington, DE 19850-5316
23228210       +E-mail/Text: bknotice@ercbpo.com Jul 19 2018 00:29:38        Enhanced Recovery Corp,
                 Attn: Client Services,    8014 Bayberry,    Jacksonville, FL 32256-7412
23228211       +E-mail/PDF: ais.exeter.ebn@americaninfosource.com Jul 19 2018 00:31:58          Exeter Finance Corp,
                 Po Box 166097,    Irving, TX 75016-6097
26912475       +EDI: AISACG.COM Jul 19 2018 04:08:00       Exeter Finance Corp,     Ascension Capital Group,
                 PO Box 201347,    Arlington TX 76006-1347
23417061       +EDI: AISACG.COM Jul 19 2018 04:08:00       Exeter Finance Corp.,     P.O. Box 201347,
                 Arlington, TX 76006-1347
23228212       +EDI: AMINFOFP.COM Jul 19 2018 04:08:00       First Premier Bank,     601 S Minnesota Ave,
                 Sioux Falls, SD 57104-4868
23228213       +EDI: AMINFOFP.COM Jul 19 2018 04:08:00       First Premier Bank,     3820 N Louise Ave,
                 Sioux Falls, SD 57107-0145
23228214       +EDI: RMSC.COM Jul 19 2018 04:08:00       GECRB/Dillards,    Attn Bk,    PO BOX 103104,
                 Roswell, GA 30076-9104
23228215       +EDI: RMSC.COM Jul 19 2018 04:08:00       Gemb/walmart,    Attn: Bankruptcy,     Po Box 103104,
                 Roswell, GA 30076-9104
23286747       +E-mail/Text: bankruptcy@hccredit.com Jul 19 2018 00:31:14         HC Processing Center,
                 PO Box 829,    Springdale, AR 72765-0829
23228216       +E-mail/Text: bankruptcy@hccredit.com Jul 19 2018 00:31:14         Hccredit/cit,
                 Hc Processing Center,    Po Box 1309,    Lowell, AR 72745-1309
23228217       +EDI: HFC.COM Jul 19 2018 04:08:00      Hsbc Bank,     Po Box 9,    Buffalo, NY 14240-0009
23228218       +E-mail/Text: HWIBankruptcy@hunterwarfield.com Jul 19 2018 00:29:33         Hunter Warfield,
                 Attention: Collections Department,    4620 Woodland Corporate Blvd,      Tampa, FL 33614-2415
23565607        EDI: MERRICKBANK.COM Jul 19 2018 04:08:00       MERRICK BANK,     Resurgent Capital Services,
                 PO Box 10368,    Greenville, SC 29603-0368
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                                      Form ID: 3180W                     Total Noticed: 56


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
23228219       +EDI: MERRICKBANK.COM Jul 19 2018 04:08:00       Merrick Bk,    Attn: Bankruptcy,    P.O. Box 9201,
                 Old Bethpage, NY 11804-9001
23228221       +E-mail/Text: mwilkey@midstatecollections.com Jul 19 2018 00:30:07        Midstate Collection So,
                 Po Box 3292,    Champaign, IL 61826-3292
23228222       +E-mail/Text: clientservices@northwestcollectors.com Jul 19 2018 00:28:49
                 Northwest Collectors,    3601 Algonquin Rd Ste 23,    Rolling Meadows, IL 60008-3143
23610234        EDI: PRA.COM Jul 19 2018 04:08:00      Portfolio Recovery Associates, LLC,
                 successor to CAPITAL ONE, N.A.,    (CAPITAL ONE),    POB 41067,    Norfolk VA 23541
23530685       +E-mail/Text: recovery@paypal.com Jul 19 2018 00:28:23        PayPal Inc,    Po Box 45950,
                 Omaha NE 68145-0950
23553463       +EDI: JEFFERSONCAP.COM Jul 19 2018 04:08:00       Premier Bankcard, Llc,
                 c o Jefferson Capital Systems LLC,    Po Box 7999,    Saint Cloud Mn 56302-9617,
                 Orig By: Premier Bankcard Mc 56302-7999
23228225       +E-mail/Text: admin@paypps.com Jul 19 2018 00:30:44        Prof PI SVC,   Attn: Crissy,
                 PO BOX 612,    Milwaukee, WI 53201-0612
23228226       +EDI: RMSC.COM Jul 19 2018 04:08:00       Sams Club / GEMB,    Attention: Bankruptcy Department,
                 Po Box 103104,    Roswell, GA 30076-9104
23228231       +EDI: RMSC.COM Jul 19 2018 04:08:00       Syncb/belk,   Po Box 965028,    Orlando, FL 32896-5028
23228233        EDI: AISTMBL.COM Jul 19 2018 04:08:00       TMobile,   P.O. Box 742596,
                 Cincinnati, OH 45274-2596
23228232       +EDI: WTRRNBANK.COM Jul 19 2018 04:08:00       Target Credit Card (TC),
                 C/O Financial & Retail Services,    Mailstop BT P.O. Box 9475,      Minneapolis, MN 55440-9475
23228234        EDI: VERIZONCOMB.COM Jul 19 2018 04:08:00       Verizon,    P.O. Box 25506,
                 Lehigh Valley, PA 18002-5506
23228235       +EDI: BLUESTEM Jul 19 2018 04:08:00       Webbnk/fhut,    6250 Ridgewood Rd,
                 Saint Cloud, MN 56303-0820
                                                                                                TOTAL: 40

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
23228189*        ++AMERICAN HONDA FINANCE,   P O BOX 168088,   IRVING TX 75016-8088
                  (address filed with court: American Honda Finance,     P.O. Box 168088,   Irving, TX 75016)
23228191*         +Ars /Account Resolution Services,   1801 Nw 66th Ave,    Fort Lauderdal, FL 33313-4571
23228201*         +Cda/pontiac,   Attn:Bankruptcy,   Po Box 213,    Streator, IL 61364-0213
23504885*         +Exeter Finance Corp.,   P.O. Box 201347,   Arlington, TX 76006-1347
23228223        ##+OAC,   PO BOX 371100,   Milwaukee, WI 53237-2200
23228228        ##+Stellar Recovery,   4500 Salisbury Road, Suite 105,    Jacksonville, FL 32216-8035
                                                                                                TOTALS: 0, * 4, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 20, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 18, 2018 at the address(es) listed below:
              Anthony J Kudron    on behalf of Debtor 1 Ankurkumar J Chaudhari akudron@semradlaw.com,
               ilnb.courtview@SLFCourtview.com
              Elizabeth Placek     on behalf of Debtor 1 Ankurkumar J Chaudhari eplacek@semradlaw.com,
               ilnb.courtview@SLFCourtview.com
              Jennifer M Rinn    on behalf of Creditor   Exeter Finance Corp. Jennifer@rinnrichmanlaw.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Steve Miljus     on behalf of Debtor 1 Ankurkumar J Chaudhari smiljus@semradlaw.com,
               ilnb.courtview@SLFCourtview.com
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
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                             Form ID: 3180W               Total Noticed: 56


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Yisroel Y Moskovits   on behalf of Debtor 1 Ankurkumar J Chaudhari imoskovits@semradlaw.com,
               ilnb.courtview@SLFCourtview.com
                                                                                            TOTAL: 7
